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 7                          UNITED STATES DISTRICT COURT
 8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                  WESTERN DIVISION
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      BROIDY CAPITAL MANAGEMENT LLC                     Civil Case No.:
11    and ELLIOTT BROIDY,
                                                        2:18-CV-02421-JFW-(Ex)
12
            Plaintiffs,                                 [Assigned to Hon. John F. Walter]
13
            v.
14                                                      ORDER OF FINAL JUDGMENT
15    STATE OF QATAR, STONINGTON
      STRATEGIES LLC, NICOLAS D.                        Amended Complaint Filed: March
16
      MUZIN, GLOBAL RISK                                26, 2018
17    ADVISORS LLC, KEVIN CHALKER,
      DAVID MARK POWELL,
18
      MOHAMMED BIN HAMAD BIN
19    KHALIFA AL THANI, AHMED
      AL-RUMAIHI, and DOES 1-10,
20

21          Defendants.
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                                  ORDER OF FINAL JUDGMENT
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 1          On August 8, 2018, the Court issued an order granting a Motion to Dismiss
 2    brought by Defendant State of Qatar pursuant to Rule 12(b)(1) and Rule 12(b)(2) on the
 3    basis that Qatar is immune from suit under the Foreign Sovereign Immunities Act, and
 4    thereby dismissed Qatar from this action without leave to amend. Dkt. 198.
 5          On August 16, 2018, the Court issued an order granting a Motion to Dismiss
 6    brought by Defendants Stonington Strategies and Nicolas D. Muzin (collectively, the
 7    “Stonington Defendants”) for lack of personal jurisdiction, and thereby dismissed the
 8    Stonington Defendants from this action without leave to amend. Dkt. 209. Because the
 9    Court lacked jurisdiction over Plaintiffs’ claims against the Stonington Defendants, the
10    dismissal is properly considered as a dismissal without prejudice.
11          On August 22, 2018, the Court issued an order granting a Motion to Dismiss
12    brought by Defendants Global Risk Advisors and Kevin Chalker (collectively, the “GRA
13    Defendants”) for lack of personal jurisdiction, and thereby dismissed the GRA
14    Defendants from this action without leave to amend. Dkt. 212. Because the Court
15    lacked jurisdiction over Plaintiffs’ claims against the GRA Defendants, the dismissal is
16    properly considered as a dismissal without prejudice.
17          On September 20, 2018, the Court issued a minute order, Dkt. 219, that provided:
18          … In light of Plaintiffs apparent willingness to dismiss the Unserved
19          Defendants, Plaintiffs shall file the dismissals on or before September 24,
20          2018. After the dismissals are filed, Lead Counsel are ordered to meet and
21          confer and prepare a joint proposed Judgment. The parties shall lodge a
22          joint proposed Judgment with the Court on or before September 26, 2018.
23          In the unlikely event that counsel are unable to agree upon a joint proposed
24          Judgment, the parties shall each submit separate versions of a proposed
25          Judgment, along with a declaration outlining their objections to the opposing
26          party's version, no later than September 26, 2018. All issues regarding the
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                                    ORDER OF FINAL JUDGMENT
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 1          Designations made pursuant to the Protective Order shall be submitted to
 2          Magistrate Judge Charles F. Eick.
 3          Pursuant to that order, on September 24, Plaintiffs filed a Notice of Voluntary
 4    Dismissal, voluntarily dismissing the remaining defendants in this action: David Mark
 5    Powell, Mohammed Bin Hamad Bin Khalifa Al Thani, and Ahmed Al-
 6    Rumaihi(collectively, the “Unserved Defendants”). Dkt. 223. The Plaintiffs’ dismissal
 7    of the Unserved Defendants was made without prejudice.
 8          Accordingly, as all defendants have been dismissed from this action,
 9          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
10          1.     Final Judgment is entered in favor of the State of Qatar, the Stonington
11    Defendants and the GRA Defendants on Plaintiffs’ First Amended Complaint, and
12    Plaintiffs shall take nothing thereby.
13          2.     Judgment as to the Stonington Defendants and the GRA Defendants is
14    without leave to amend and without prejudice.
15          3.     Plaintiffs’ First Amended Complaint is dismissed, as to all causes of action.
16          4.     All issues regarding the Designations made pursuant to the Protective Order
17    shall be submitted to Magistrate Judge Charles F. Eick.
18          5.     This order constitutes a final, appealable judgment.
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20   DATED: September 27, 2018                                             ____________________
                                                        The Honorable John F. Walter
21                                                      United States District Judge
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                                     ORDER OF FINAL JUDGMENT
